
USCA1 Opinion

	










          September 14, 1995
                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                                 ____________________

        No. 94-1858


                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                       GERALD RODRIGUEZ, a/k/a/ JOSE RODRIGUEZ,

                                Defendant, Appellant.

                                 ____________________


                                     ERRATA SHEET


            The opinion of this  Court issued on August 28, 1995 is  corrected
        as follows:

            On page 12,  second paragraph, line  5, substitute  "defaults" for
        "defalcates."











































                            United States Court of Appeals
                                For the First Circuit


                                 ____________________

        No. 94-1858

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                       GERALDO RODRIGUEZ, a/k/a JOSE RODRIGUEZ,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND


                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________
                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
                                         __________________________

                                 ____________________

                                        Before

                         Selya, Cyr and Lynch, Circuit Judges.
                                               ______________

                                 ____________________


            Andrew Grosso for appellant.
            _____________
            Mervyn  Hamburg,  Senior  Counsel,  United  States  Department  of
            _______________
        Justice, with whom Sheldon Whitehouse, United States  Attorney, was on
                           __________________
        brief for the United States.

                                 ____________________

                                   August 28, 1995
                                 ____________________






















































































                      LYNCH, Circuit Judge.   Geraldo Rodriguez seeks  to
                      LYNCH, Circuit Judge.
                             _____________

            set aside his conviction for conspiracy to distribute heroin,

            contending that he  was not  brought to trial  within the  70

            days prescribed by  the Speedy Trial  Act ("STA"), 18  U.S.C.

               3161 et  seq., and that  two evidentiary rulings  at trial
                    ________

            were  in  error.     Rodriguez  also  appeals  his  sentence,

            contending that  the district court engaged  in impermissible

            "double counting" when it departed upward based on the purity

            of the  heroin he was  convicted of conspiring  to distribute

            while   simultaneously   enhancing  his   sentence   for  his

            leadership role.  The conviction and sentence are affirmed.


                                    I.  Background
                                        __________

                      Geraldo  "Jose"  Rodriguez  and   his  co-defendant

            Juvenal  Grajales arranged the sale of a total of 97.65 grams

            of very pure heroin  (87% to 96% pure) to  a DEA confidential

            informant named Miguel Teixeira on four occasions in February

            and April,  1993.   Teixeira recorded his  conversations with

            Rodriguez  about the  particulars of  these drug  deals at  a

            number of  pre-arranged meetings.   At some of  the meetings,

            Rodriguez was accompanied by Grajales or other associates; at

            others,   Rodriguez  sent   associates  to  assist   with  or

            consummate the transactions.

                      Rodriguez and Grajales  were arrested and  indicted

            for  distribution of  heroin,  distribution  of cocaine,  and

            conspiracy  to  possess heroin  and  cocaine  with intent  to


                                         -2-
                                          2















            distribute.   Following a period of  pretrial motion practice

            and  discovery (set forth  in the Appendix  that follows this

            opinion), trial  was scheduled  for September  23, 1993.   On

            September 22, 1993, the district court accepted a guilty plea

            from  Grajales.  On September  23, a jury  was empaneled (but

            not sworn) in Rodriguez's case and trial  was set to begin on

            September 30, 1993.  On that day, before the jury was  sworn,

            Rodriguez  disputed   the   adequacy  of   the   government s

            disclosures concerning  the  background of  its  key  witness

            Teixeira, the DEA informant.   Rodriguez demanded that  he be

            provided  with additional  information.  The  district court,

            accommodating  Rodriguez s position,  dismissed the  jury and

            adjourned  the  trial  pending resolution  of  the  discovery

            issue.

                      Some  two  weeks   later,  on  October  19,   1993,

            Rodriguez's trial counsel filed a motion to withdraw from the

            case.   The motion was  granted after hearing,  and the court

            allowed Rodriguez time to  obtain new counsel.  In  November,

            Rodriguez's  newly  retained  counsel Barry  Wilson  filed an

            appearance and, later, a motion for admission pro hac vice in
                                                          ___ ___ ____

            the  District  of Rhode  Island.    This proved  problematic.

            Based on a contempt order that had been issued against Wilson

            in an  unrelated matter before Judge  Pettine, the government

            opposed the pro  hac vice motion.  A hearing  was not held on
                        ___  ___ ____

            the motion until February 22, 1994.  The motion was allowed.



                                         -3-
                                          3















                      That same  day Rodriguez filed a  motion to dismiss

            the indictment on  grounds that  he had not  been brought  to

            trial within 70 days as required by the STA.  That motion was

            later denied in a bench ruling.

                      Trial commenced on May  12, 1994.  At the  close of

            the government's case, the district court granted Rodriguez's

            motion for judgment of  acquittal with respect to Count  2 of

            the  indictment,  which  charged  conspiracy   to  distribute

            cocaine.  At the  conclusion of the five-day trial,  the jury

            returned  a   guilty  verdict  on  Count   1  (conspiracy  to

            distribute heroin)  but  acquitted  Rodriguez  on  all  other

            counts (distribution of heroin; distribution of cocaine).

                      At sentencing,  after concluding  that both  a two-

            level leadership role enhancement and an additional two-level

            drug-purity  upward departure  were  warranted, the  district

            court imposed  a sentence  of 121  months imprisonment to  be

            followed  by 5 years  supervised release,  and a  $50 special

            assessment.


                             II.  Speedy Trial Act Claim
                                  ______________________

                      Rodriguez's STA claim  raises questions of  whether

            certain time consumed in connection with pretrial motions and

            jury  empanelment   is  excludable  from  the  requisite  STA

            calculations.       Factual   findings   underlying   a   STA

            determination  are  reviewed  for clear  error,  while  legal

            rulings are reviewed de novo.  See United States v. Storm, 36
                                 __ ____   ___ _____________    _____


                                         -4-
                                          4















            F.3d 1289, 1292  (5th Cir.  1994), cert. denied,  115 S.  Ct.
                                               ____________

            1798  (1995); United States  v. Henderson, 746  F.2d 619, 622
                          _____________     _________

            (9th Cir. 1984), aff'd, 476 U.S. 321 (1986).
                             _____

                      The STA  requires that a defendant  be tried within

            70  days of the filing  of the indictment  or the defendant's

            first appearance before a  judicial officer, whichever occurs

            later.  See  Henderson v.  United States, 476  U.S. 321,  322
                    ___  _________     _____________

            (1986).  The remedy for  violation of the 70-day  requirement

            is  dismissal  of  the  indictment  either  with  or  without

            prejudice,  depending on  consideration of  several statutory

            factors.    See  18  U.S.C.   3162(a)(2);  United  States  v.
                        ___                            ______________

            Ramirez, 973 F.2d 36, 39 (1st Cir. 1992).  Not every day that
            _______

            passes between  indictment or appearance and  trial, however,

            counts toward  the 70-day limit.   The Act  itself enumerates

            various  circumstances that  can suspend  the running  of the

            time.   See 18 U.S.C.    3161(h).  The  question presented is
                    ___

            whether  the  total  amount  of  non-excludable  time between

            indictment  or  judicial appearance  and  the  filing of  the

            pretrial  motion suggesting  a  STA  violation  exceeded  the

            statutory limit of 70 days.

                      The metaphor  of a running  clock is often  used in

            STA cases.   The metaphorical clock  here started running  on

            June  4, 1993, the day  after the indictment,  and stopped on

            February  22, 1994, the day Rodriguez  filed his speedy trial

            motion,  which  was not  renewed  before trial.    See United
                                                               ___ ______



                                         -5-
                                          5















            States  v.  Connor, 926  F.2d 81,  84  (1st Cir.  1991) ("[A]
            ______      ______

            motion  for dismissal [under  the STA] is  effective only for

            periods  of time  which antedate  the filing  of the  motion.

            Subsequent   periods  of   delay,   whether   includable   or

            excludable, are inconsequential.").

                      There  is no  dispute  that three  days devoted  to

            miscellaneous    proceedings    concerning   Rodriguez    are

            excludable.*   The  battle lines  are thus  drawn around  the

            remaining  period of 260 days, and the question is whether at

            least 190 of those days were excludable.  The answer is yes.

                      Much   of  Rodriguez's   attack  focuses   on  time

            associated with pretrial  motions.  The ground  rules are set

            by  the  statute  and  Supreme  Court  case  law.     Section

            3161(h)(1) of the Speedy Trial Act provides for the exclusion

            of any

                          (F)      delay  resulting   from  any
                      pretrial motion,  from the filing  of the
                      motion  through  the  conclusion  of  the
                      hearing on, or  other prompt  disposition
                      of, such motion; [and]
                                . . .
                          (J)  delay reasonably attributable to
                      any  period, not  to exceed  thirty days,
                      during  which  any proceeding  concerning
                      the    defendant   is    actually   under
                      advisement by the court.

            18 U.S.C.   3161(h)(1)(F), (J).

                            
        ____________________

        *The parties agree  that the  following days are  excludable under  18
        U.S.C.   3161(h)(1): the day  of arraignment (June 14, 1993),  the day
        on  which Rodriguez's  co-defendant Grajales  submitted a  guilty plea
        (September  22,  1993);  and the  day  on  which  the first  jury  was
        empaneled (September 23, 1993).

                                         -6-
                                          6















                      There   are   significant   differences    in   the

            excludability  of  delays  attributable  to  motions afforded

            hearings and those decided without hearing.  Such differences

            result from  the interplay  between subsections (F)  and (J).

            In  Henderson v.  United  States, 476  U.S.  321 (1986),  the
                _________     ______________

            Supreme  Court held  that  under subsection  (F), the  entire
                                                                   ______

            period  beginning from the filing of a pretrial motion to the

            conclusion of the hearing on that motion  is excludable time.

            See id. at 328-31; see also United States v. McAfee, 808 F.2d
            ___ ___            ________ _____________    ______

            862, 864 (1st Cir. 1986).  Once the hearing on  the motion is

            concluded, subsection  (J) limits  the  amount of  excludable

            time while the motion is "under advisement" to 30  days.  See
                                                                      ___

            Henderson, 476 U.S.  at 328-329; United  States v. Ortiz,  23
            _________                        ______________    _____

            F.3d 21, 27  &amp; n.6 (1st Cir. 1994); United  States v. Wilson,
                                                ______________    ______

            835 F.2d 1440, 1442 (D.C. Cir. 1987).

                      When  there is no hearing, a motion is deemed to be

            taken  under  advisement when  "the  court  receives all  the

            papers it reasonably expects . . . ."  Henderson, 476 U.S. at
                                                   _________

            329; see also United States v. Johnson, 29 F.3d 940, 944 (5th
                 ________ _____________    _______

            Cir. 1994).    Thus, for  a motion  that does  not receive  a

            hearing, subsections (F) and (J) in conjunction allow for the

            exclusion of all of the time from the filing of the motion to

            the  time that  the  court receives  all reasonably  expected

            papers, plus no more than an additional 30 days of advisement

            time.  See Johnson, 29 F.3d at 944; see also Wilson, 835 F.2d
                   ___ _______                  ________ ______



                                         -7-
                                          7















            at  1442  ("[Sections 3161(h)(1)(F)  and (J)]  taken together

            thus exclude the time between filing of a motion and the date

            it  is taken  under advisement  by the  court, plus  the time

            during which the court holds the motion under advisement  (up

            to 30 days).").

                      The chronology against which the STA clock runs and

            stops according to  these rules in this case  is set forth in

            the Appendix.   Pursuant  to Henderson and    3161(h)(1)(F) &amp;
                                         _________

            (J), the  entire 75-day  period from  the  December 10,  1993

            filing  of the pro hac  vice motion of  his new counsel until
                           ___ ___  ____

            the   hearing  on   that  motion   (February  22,   1994)  is

            excludable.**  The  date on  which the motion  was filed  and

            the  date on  which it  was heard  are also  excludable days.

            United  States v. Papaleo, 853  F.2d 16, 21  (1st Cir. 1988).
            ______________    _______


                            
        ____________________

        **There is some confusion in  the briefs and in the record  as to when
        Barry Wilson's pro  hac vice motion actually was  filed.  For purposes
                       ___  ___ ____
        of this appeal,  we assume the motion was filed  on December 10, 1993,
        the  date indicated  on the  district court  docket sheet.    It bears
        comment, however, that more than 45  days passed between the time that
        the district court granted the motion of Rodriguez's former counsel to
        withdraw  from the case  and the filing  of the pro  hac vice motion  
                                                        ___  ___ ____
        even  though the court had  expressly ordered Rodriguez  to obtain new
        counsel  within 10  days  of the  withdrawal.   Although  new  counsel
        purported to file an "appearance" on November 4, 1993, that appearance
        was plainly in  violation of the  district court's  local rules.   See
                                                                           ___
        D.R.I. Loc. R. 5(c)  (permitting appearance of non-member of  bar only
        on  admission pro  hac  vice).   Conceivably,  either the  November  4
                      ___  ___  ____
        "appearance" by Wilson or  the December 1 appearance by  local counsel
        on behalf of Wilson could be treated functionally as the date on which
        the pro hac vice motion  was filed.  In any case, there is substantial
            ___ ___ ____
        reason  to doubt whether the STA clock  was running during the 35 days
        that  Rodriguez,  in  violation  of  the  court's  order,  delayed  in
        retaining appropriate counsel of record.  For purposes of this appeal,
        however, we put that issue to one side.

                                         -8-
                                          8















            Similarly, the bail motion  filed on October 13,  1993 (which

            did not receive a hearing nor, apparently, an express ruling)

            resulted  in at  least an  additional 30  days of  excludable

            time.  See Ortiz, 23 F.3d at 27 n.6 (pretrial motion to which
                   ___ _____

            no opposition was  filed, which did not  receive hearing, and

            was never ruled upon  created at least 30 days  of excludable

            time);  see also Johnson, 29  F.3d at 945  (same).  Excluding
                    ________ _______

            the  delays attributable  to  these motions  reduces the  STA

            count to 155 days.

                      The events  that unfolded in  late September,  1993

            further reduce the count.  On September 23, 1993, Rodriguez's

            case  was called to trial, and  a jury was empaneled, but not

            sworn.   One week later, as  the trial was about  to begin in

            earnest, a  last-minute discovery  wrangle caused  the still-

            unsworn jury to be  dismissed and the trial to  be postponed.

            The  issue is how to  treat the one-week  interim between the

            jury's empanelment and its unexpected dismissal.

                      It  is settled that trial generally "commences" for

            Speedy Trial Act purposes  on the day the jury  is empaneled,

            even  if  not sworn.   See  Government  of Virgin  Islands v.
                                   ___  ______________________________

            Duberry,  923  F.2d  317, 320  (3d  Cir.  1991)  (STA is  not
            _______

            violated so  long as jury selection occurs  within the 70-day

            period, even  if swearing  occurs outside the  period), cert.
                                                                    _____

            denied, 115 S. Ct. 370 (1994); United States v. Fox, 788 F.2d
            ______                         _____________    ___

            905,  908-09 (2d Cir. 1986)  (same); United States v. Scaife,
                                                 _____________    ______



                                         -9-
                                          9















            749  F.2d 338, 343 (5th  Cir. 1984) (same);  United States v.
                                                         _____________

            Manfredi,  722 F.2d 519,  524 (9th Cir.  1983) (same); United
            ________                                               ______

            States v. Gonzalez,  671 F.2d 441 (11th  Cir.), cert. denied,
            ______    ________                              ____________

            456 U.S. 994 (1982);  cf.  United States v. Rojo-Alvarez, 944
                                  ___ ______________    ____________

            F.2d 959, 965  (1st Cir. 1991) (dictum)  (suggesting that the

            STA  clock   was  "definitively  stopp[ed]"  when   jury  was

            empaneled); United States  v. Zayas, 876 F.2d 1057, 1058 (1st
                        _____________     _____

            Cir.  1989) (noting the  parties' agreement  that STA  is not

            violated if jury empanelment  occurs within the 70-day period

            even if actual trial commences outside the period, so long as
            ____ __

            the  empanelment is not "pretextual").   Here, as  far as the

            record reflects,  the parties  and the  court expected  as of

            September  23 that, following a brief recess of one week, the

            empaneled jury would be sworn  and that opening arguments and

            testimony would get underway on September 30.   Arguably, the

            September 23, 1993  jury empanelment ended the running of STA

            time.  Cf.  Duberry,  923 F.2d at 320 ("The Speedy  Trial Act
                   ___  _______

            does not  require that  once a  trial  commences it  continue

            without  interruption  . . . .").   Before  September  30 the

            parties  and the court had  every reason to  believe that the

            STA  clock  had ceased  ticking on  September  23.   In these

            circumstances, we conclude that, at a minimum, the STA  clock

            did  not run  during  the 6-day  interim  between the  jury's

            empanelment and its dismissal.   Subtracting this time brings

            the STA tally to 149 days.



                                         -10-
                                          10















                      We  turn next  to the  proceedings of  September 30

            that unexpectedly  halted the  trial.  That  day, before  the

            jury was  sworn, Rodriguez's counsel  raised discovery issues

            with  the  trial  judge,  contending  that  the  government's

            disclosure   of  information   concerning  its   key  witness

            (Teixeira) had been sorely  inadequate.  Rodriguez asked that

            the  court   order  the  government  to   produce  additional

            information.  The district  court, apparently seeing merit in

            Rodriguez's  claim, decided  to  dismiss the  jury.   Defense

            counsel then asked  the district  court, "Judge,  will it  be

            necessary  to file a more detailed request . . .?"  The court

            replied,  "Well, you  take the  time you  need and  study the

            problem, then  let me know what you need, all right?"  Twelve

            days later,  on October 12,  1993, Rodriguez filed  a "Motion

            for Exculpatory Evidence" concerning Teixeira.

                      Rodriguez's request for  additional information  at

            the  September 30, 1993  proceedings was  an oral  motion for

            supplemental  discovery,  which  triggered  the  exclusionary

            provisions of   3161(h)(1)(F).   See United States  v. Noone,
                                             ___ _____________     _____

            913 F.2d  20, 27 (1st Cir. 1990) (an oral motion no less than

            a written one creates excludable time under   3161(h)(1)(F)),

            cert. denied, 500  U.S. 906 (1991);  accord United States  v.
            ____________                         ______ _____________

            Pasquale, 25 F.3d 948, 950-51 (10th Cir. 1994); United States
            ________                                        _____________

            v. Arbelaez, 7 F.3d 344, 347 (3d Cir. 1993); United States v.
               ________                                  _____________

            Louis,  814 F.2d 852, 857 (2d Cir. 1987).  Alternatively, the
            _____



                                         -11-
                                          11















            period between Rodriguez's September  30 oral request and the

            filing of his October 12 written motion can be viewed as time

            set aside by  the district court as  motion preparation time,

            which  also  would be  excludable  under    3161(h)(1).   See
                                                                      ___

            United  States v. Jodoin, 672  F.2d 232, 238  (1st Cir. 1982)
            ______________    ______

            (allowing STA  exclusion for period between  defendant's oral

            request for time to file motion and actual filing of motion);

            cf. United States v. Barnes, 909 F.2d 1059, 1064-65 (7th Cir.
            ___ _____________    ______

            1990)  (recognizing  excludability   of  time  designated  by

            district court as motion preparation time).   Either way, the

            entire 13-day period from  September 30, 1993 through October

            12, 1993 is excludable time.  In light of this conclusion, we

            need not  address whether the adjournment  resulting from the

            September 30 proceedings  would be excludable as  an "ends of

            justice"  continuance under the STA.   Had the district court

            so intended, however, it would have been preferable for it to

            have  made an express finding  on the record,  as directed by

            the statute,  explaining why the  "ends of justice  served by

            the  granting  of  such  continuance  outweigh[ed]  the  best

            interests of the public and the defendant in a speedy trial."

            18 U.S.C.   3161(h)(8)(A); see United States v. Bruckman, 874
                                       ___ _____________    ________

            F.2d 57,  62 (1st Cir. 1989) (encouraging  district courts to

            make  the  requisite  findings,   but  noting  that  in  some

            circumstances, failure  to state the findings  for the record

            does not preclude excludability).   In any event, subtracting



                                         -12-
                                          12















            the time between the September 30  adjournment and the filing

            of  the October 12 discovery  motion brings the  STA tally to

            136 days.***

                      There remains  at least  one  additional source  of

            excludable  time    the discovery  motion Rodriguez  filed on

            June  16, 1993.    Determining how  much  excludable time  to

            attribute to this  motion presents a  novel question in  this

            Circuit: how to treat a delay when the government defaults on

            its obligation to respond to a defendant's motion by a court-

            ordered deadline.  Rodriguez's  motion was filed on  June 16,

            1993 and did  not receive  a hearing.   The magistrate  judge

            overseeing   the  pretrial   proceedings   had  ordered   the

            government to file  any opposition  by July 23,  1993.   Yet,

            inexplicably, the government's opposition was not filed until

            September  2, 1993.  The government has not disputed that its

            opposition was untimely;  nor has it  pointed to anything  in

            the record  that  would justify  the  delay.   Still,  citing

            Henderson, the  government contends that all of the time from
            _________                                ___

            the  filing of the June 16, 1993  motion to the filing of its

            untimely response on September 2, 1993, plus an additional 30
                                                    ____

            days of  advisement time,  should be deemed  excludable under

              3161(h)(1)(F) and (J).  Rodriguez disagrees, asserting that

                            
        ____________________

            ***Because the period of  excludable time attributable to the
            October 12,  1993 written  motion wholly overlaps  the period
            independently excluded by virtue of the October 13, 1993 bail
            motion,  the October 12 motion  does not result  in any extra
            excludable time, except for the single day of October 12.

                                         -13-
                                          13















            the excludable time should be limited to the period from June

            16  to July 23 (the date on which the government's opposition

            was due), plus an additional 30 days of advisement time after
                ___

            that due date.

                      There   are   considerable   reasons    to   credit

            Rodriguez's  position.   The  government's  broad reading  of

            Henderson is hardly sensitive to the purposes of the STA.  To
            _________

            be sure, Henderson creates an expansive rule of exclusion for
                     _________

            delays attributable  to the hearing of pretrial motions.  But

            we  doubt that Henderson or the Speedy Trial Act itself would
                           _________

            permit  treating  as   excludable  time  an   extended  delay

            attributable solely  to the government's unexcused failure to

            comply with  a court-ordered briefing schedule.   The dangers

            of  potential  abuse lurking  behind  such  a broad  rule  of

            exclusion are plain.

                      A   more  sensible  rule   might  provide  for  the

            termination of excludable time under   3161(h)(1)(F) upon the

            due date of the  opposition to a defendant's pretrial  motion
            ________

            that does  not receive  a hearing, absent  circumstances that

            would  reasonably justify a late filing.  The Seventh Circuit

            adheres to just such a "due date" rule.  See United States v.
                                                     ___ _____________

            Thomas,  788 F.2d  1250, 1259 (7th  Cir.), cert.  denied, 479
            ______                                     _____________

            U.S. 853  (1986); see  also United  States v.  Baskin-Bey, 45
                              _________ ______________     __________







                                         -14-
                                          14















            F.3d 200, 203 (7th Cir. 1995), cert. denied, 115  S. Ct. 1809
                                           ____________

            (1995).****     Under  that   court's  approach,  a  pretrial

            motion that does not receive a hearing is deemed to be "under

            advisement"  on the  date the  government's response  is due,

            even  if the  response  has not  actually  been filed.    See
                                                                      ___

            Thomas, 788 F.2d at  1259.  Thus, as  of the due date  in the
            ______

            Seventh  Circuit,   3161(h)(1)(F) ceases to create excludable

            time  for a motion that  receives no hearing,  and the 30-day

            period of excludable  "advisement" time under   3161(h)(1)(J)

            begins; after that 30-day period, the STA clock begins to run

            again.  See id.
                    _______

                      The  Thomas  rule  is commended  by  fairly obvious
                           ______

            considerations  of policy.  See Thomas, 788 F.2d at 1259 ("If
                                        ___ ______

            the entire  period [of  delay attributable to  a government's

            late  filing]  were  excluded,  a   prosecutor  could  obtain

            indefinite  exclusions  of  time  by  the  expedient  of  not

            responding  to  . . .  motions.    That  would  undercut  the

            structure of the Speedy  Trial Act.").  For several  reasons,

            however, we leave for another day whether to adopt the Thomas
                                                                   ______

            "due date"  rule  as the  law  of this  Circuit.   First  and

            foremost, we  need not  decide definitively whether  to adopt

                            
        ____________________

            ****The Fifth  Circuit appears to differ.   See United States
                                                        ___ _____________
            v.  Martinez-Mercado, 888  F.2d  1484, 1493  (5th Cir.  1989)
                ________________
            (rejecting appellant's  contention that Speedy Trial Act does
            not exclude  time between  due date of  government's response
            under local  rules  and  actual  filing date).    The  Second
            Circuit has left  the question  open.  See  United States  v.
                                                   ___  _____________
            Adeniji, 31 F.3d 58, 66 (2d Cir. 1994).
            _______

                                         -15-
                                          15















            the  "due date" rule in this case, because even applying that

            rule, the  number of non-excludable days  within the relevant

            STA period is less than 70: between the filing of the June 16

            motion and  the due date of the  opposition (July 23) fell 38

            days  excludable under    3161(h)(1)(F).   Adding 30  days of

            excludable    "under    advisement"    time    pursuant    to

              3161(h)(1)(J),  the total  excludable time  attributable to

            the June  16 motion  under the  "due date"  rule would be  68

            days.  Subtracting this  time from the STA tally  reduces the

            count to 68 days, under the 70-day limit.  Second, the record

            before us  is unclear as  to whether  there were in  fact any

            reasons for the government's  late filing.  Third, it  is not

            evident that  Rodriguez ever brought the  untimeliness of the

            government's  opposition to  the district  court's attention.

            Cf.  United States v. Welborn, 849 F.2d 980, 986-87 (5th Cir.
            ___  _____________    _______

            1988) (expressing  concern  that the  Seventh Circuit's  "due

            date" rule might "permit a defendant to remain silent after a

            deadline imposed  on the prosecution had elapsed and permit a

            Speedy Trial Act  violation to accrue  without notice to  the

            prosecution or the court").

                      Finally, we  reject Rodriguez's assertion  that his

            June 16 motion did not generate any excludable time from June

            16  to July 13.   His argument  purports to be  built upon 18

            U.S.C.    3161(c)(2), which  some  courts have  understood to

            prohibit  commencement of a trial sooner than 30 days after a



                                         -16-
                                          16















            defendant's  arraignment  or indictment.   See,  e.g., United
                                                       __________  ______

            States v. Daly, 716 F.2d 1499, 1504-05 (9th Cir. 1983), cert.
            ______    ____                                          _____

            dismissed,  465  U.S. 1075  (1984).    From this  reading  of
            _________

              3161(c)(2), Rodriguez argues that  his trial could not have

            commenced  before July 14, 1993  and that his  June 16 motion

            therefore could  not have produced  any actual "delay"    and

            hence no excludable time   before that date.  Whether or  not

            Rodriguez's   suggested   construction  of     3161(c)(2)  is

            correct, his argument is  unavailing.  The argument rests  on

            the premise that a  motion which causes no actual  delay of a

            trial date  does not  trigger   3161(h)(1).   However, it  is

            clear in this  Circuit as  in others that  the exclusions  of

              3161(h)(1)(F) and  (J) are  "automatic," and do  not depend

            upon any showing of actual delay.  See United States v. Rush,
                                               ___ _____________    ____

            738 F.2d 497,  502 (1st  Cir. 1984), cert.  denied, 470  U.s.
                                                 _____________

            1004 (1985); see also United States v. Montoya, 827 F.2d 143,
                         ________ _____________    _______

            151  (7th Cir. 1987);  United States  v. Velasquez,  802 F.2d
                                   _____________     _________

            104,  105 (4th Cir. 1986);  United States v.  Novak, 715 F.2d
                                        _____________     _____

            810, 813 (3d Cir. 1983), cert. denied, 465 U.S. 1030 (1984).
                                     ____________

                      To  summarize, the  following periods  of time  are

            excludable under   3161(h):  the single day of  June 14, 1993

            (arraignment);  at  least 68  days  following  the filing  of

            Rodriguez's discovery motion on June 16, 1993; the single day

            of September  22, 1993 (co-defendant's  submission of  plea);

            the 7-day period from September 23 through September 29, 1993



                                         -17-
                                          17















            (jury empanelment and trial "commencement"); at least 30 days

            following the September 30,  1993 oral request for additional

            discovery;  the 13 of the  30 days following  the October 13,

            1993 bail motion that  do not overlap with the  time excluded

            for  the September  30  oral motion;  and  the 75-day  period

            between the December  10, 1993  pro hac vice  motion and  the
                                            ___ ___ ____

            hearing  on that motion.   Excluding these 195  days from our

            starting count of 263 leaves only 68 nonexcludable days.

                      We  need go no further.  The district court did not

            err in  denying Rodriguez's motion to  dismiss the indictment

            for violation of the STA.


                               III.  Evidentiary Issues
                                     __________________

            A.  Admissibility of Audiotape
                __________________________

                      Teixeira,  the  government's testifying  informant,

            taped his meetings with Rodriguez using a concealed recording

            device.  A total  of eight tapes were admitted  into evidence

            at  trial.   Rodriguez  contends  that  the district  court's

            admission  of  one  of  these  tapes  (Gov.  Exhibit  7)  was
                           ___

            reversible  error, for  three  reasons: (1)  the tape,  which

            purported to be a recording of a meeting between Teixeira and

            Rodriguez  on   February   19,   1993,   was   not   properly

            authenticated; (2)  the tape  contains hearsay statements  by

            Teixeira;  and  (3) the  tape contains  some words  spoken in

            Spanish, creating a danger of jury confusion.




                                         -18-
                                          18















                      There was  no abuse of discretion  in admitting the

            tape over  Rodriguez's  authenticity objection.   See  United
                                                              ___  ______

            States v. Font-Ramirez,  944 F.2d 42, 46-47  (1st Cir. 1991),
            ______    ____________

            cert. denied, 502 U.S. 1065 (1992).  First,          Teixeira
            ____________

            identified it as the  tape he recorded during a  meeting with

            Rodriguez on February 19, 1993, and Teixeira stated  that the

            tape fairly and accurately  reflected that meeting.  Teixeira

            further  testified  that  he  had listened  to  the  tape and

            verified  that his  own voice  was on  it.   Other government

            witnesses confirmed  that Teixeira met with  defendant on the

            relevant date, that Teixeira was wired to record the relevant

            meeting, that Teixeira gave the  tape to the DEA surveillance

            team following the meeting, and that the tape passed  through

            a  clean chain of custody preceding trial.  Cf. United States
                                                        ___ _____________

            v. Rengifo, 789 F.2d  975, 978 (1st Cir. 1986)  (holding that
               _______

            tape  can be  properly  authenticated by  someone other  than

            participant in the recorded conversation).  Rodriguez offered

            no  evidence that the tape was somehow inaccurate or had been

            altered.  See United  States v. Carbone, 798 F.2d 21, 24 (1st
                      ___ ______________    _______

            Cir. 1986).

                      Rodriguez's  other objections  to admission  of the

            tape also fail.  His hearsay objection falters because he did

            not make  it at  trial, arguing  only a  foundation objection

            there.  Admission of the tape was not plain error.  His final

            claim,  that the presence of  some Spanish words  on the tape



                                         -19-
                                          19















            created a danger that some of the jurors might  have tried to

            act as  interpreters for  other jurors, is  sheer speculation

            and provides no basis for reversal.

                      Any   alleged  error  in  admitting  the  tape  was

            harmless in any event.   The jury acquitted defendant  of all
                                              _________

            counts except for the count charging conspiracy to distribute

            heroin.   There  was  a  wealth  of  evidence  to  support  a

            conviction  on that  count that  had nothing  to do  with the

            disputed  tape,  including  Teixeira's  live  testimony,  the

            testimony of  other surveilling officers,  and several  other
                                                                    _____

            tape  recorded conversations  between Teixeira  and Rodriguez

            whose admissibility are not challenged here.


            B.  Limitation of Impeachment Evidence
                __________________________________

                      During  cross-examination  of  Teixeira  at  trial,

            Rodriguez's  counsel exposed the fact that in January, 1993  

            shortly  before  the  start  of the  operation  that  led  to

            defendant's arrest   Teixeira  had been convicted of perjury.

            As Rodriguez s counsel  explored this skeleton in  Teixeira s

            closet,  there  arose  some  question  about  precisely  when

            Teixeira had served the 90-day home confinement sentence that

            had attached to his conviction.   Teixeira testified that  he

            had already served his sentence as of the date of Rodriguez's

            trial  (May  1994),  but  could not  remember  exactly  when.

            Rodriguez,  in presenting  his  own  case, called  Teixeira's

            probation officer to the stand.  His testimony suggested that


                                         -20-
                                          20















            Teixeira had not in fact served his home confinement sentence

            by May 1994.   Seeking further to impeach  Teixeira s already

            damaged credibility,  Rodriguez then moved  for production of

            certain   correspondence  in  the  possession  of  Teixeira's

            probation officer that might  indicate exactly when  Teixeira

            had served his 90-day sentence.  The court denied Rodriguez's

            request for the probation documents.

                      The district court's decision not  to let Rodriguez

            pursue the  collateral question  of when Teixeira  had served

            his perjury sentence is unassailable.   The court had already

            permitted  Rodriguez ample  opportunity to  impeach Teixeira,

            and it  is unlikely that  the probation documents  would have

            added  anything to  the jury s  ability to  assess Teixeira s

            truthfulness.   The  district court  has broad  discretion to

            limit the extent to which a defendant is permitted to impeach

            a witness, see  United States  v. Fortes, 619  F.2d 108,  118
                       ___  _____________     ______

            (1st  Cir. 1980), and there  was no abuse  of that discretion

            here.  See United  States v. Tejada,  886 F.2d 483, 488  (1st
                   ___ ______________    ______

            Cir. 1989).


                                IV.  Sentencing Issues
                                     _________________

                      The  district court added a two-level adjustment to

            Rodriguez's  base  offense level  in view  of  his role  as a

            manager,   supervisor,  or   leader  of   criminal  activity.

            U.S.S.G.   3B1.1(c).   This  enhancement resulted in  a total

            offense level of 28, which  yielded (given a criminal history


                                         -21-
                                          21















            category  of  I),  a  guidelines sentencing  range  of  78-97

            months.  The court  then departed upward from that  range (by

            the equivalent  of two  offense levels) pursuant  to U.S.S.G.

              2D1.1, comment. (n.9) and    5K2.0, in consideration of the

            unusually high  purity of the  drugs that defendant  had been

            dealing.    Consequently, the  court  imposed  a sentence  of

            imprisonment of 121 months.

                      Rodriguez's  claim  that  there   was  insufficient

            evidence  to support  a finding  that he played  a leadership

            role for  purposes of  U.S.S.G.   3B1.1(c) is  without merit.

            The district court s finding, made with the benefit of all of

            its observations at trial, is entitled to, and is given here,

            considerable  deference.   See United  States v.  Andujar, 49
                                       ___ ______________     _______

            F.3d 16, 25 (1st Cir.  1994).  We see no basis  for declaring

            that finding to be clearly erroneous.

                      Rodriguez s  next complaint,  that  he  received  a

            substantially   heavier   sentence   than  his   co-defendant

            Grajales, is  also without  merit.  Absent  misapplication of

            the  Guidelines,  the mere  fact of  the  disparity is  of no

            consequence.   See  United States  v.  Wogan, 938  F.2d 1446,
                           ___  _____________      _____

            1448-49  (1st  Cir.),  cert.  denied, 502  U.S.  969  (1991).
                                   _____________

            Besides,  the  difference is  easily  explained.   Rodriguez,

            unlike  Grajales  (who  pleaded  guilty  before   trial)  was

            sentenced against  the backdrop of  a full trial  record that

            exposed in sharp  focus the complete  extent of his  criminal



                                         -22-
                                          22















            behavior.   Cf. United States v.  Rodriguez-Cardona, 924 F.2d
                        ___ _____________     _________________

            1148, 1160-61 (1st Cir.), cert. denied, 502 U.S. 809 (1991).
                                      ____________

                      Rodriguez s  final complaint  is that  his sentence

            was twice enhanced  for the  same or similar  aspects of  his

            criminal conduct through the  simultaneous imposition of  the

            leadership-role  enhancement  and   the  drug-purity   upward

            departure.  Rodriguez  focuses this double-counting  argument

            on  application note 9  to U.S.S.G.    2D1.1,  which explains

            that a  drug's high purity  "is probative of  the defendant's

            role  or position  in  the chain  of distribution."  U.S.S.G.

              2D1.1,  comment.  (n. 9).   From  this language,  Rodriguez

            argues  that an  upward  departure based  on  drug purity  is

            duplicative of a leadership role enhancement.

                      In this case however,  the district court's finding

            of  leadership role  did  not depend  upon an  inference from

            heroin  purity.    Rather,  the  court  found  directly  that

            Rodriguez "used his mules and lackeys to  make deliveries for

            him  and [that]  he  exercised leadership  in  some of  these

            deliveries by using underlings."   Thus, the  leadership-role

            enhancement was notdriven by any consideration ofdrug purity.

                      Furthermore, application  note 9 does not  say that

            drug purity  and a  defendant's leadership role  are mutually

            exclusive  sentencing considerations.   The  application note

            specifically   states   that  "[t]rafficking   in  controlled

            substances  . . . of  unusually  high purity  may warrant  an



                                         -23-
                                          23















            upward departure," U.S.S.G.   2D1.1, comment. (n.9) (emphasis
            ______ _________

            added),  not that  high purity  can provide  a basis  for the

            leadership   role  adjustment   set   forth  in     3B1.1(c).

            Moreover, the notion  of "leadership role"  in   3B1.1(c)  is

            neither conceptually nor factually  equivalent to the  notion

            of  "role or position in the  chain of distribution" referred

            to  in   2D1.1 application  note 9.   This court has  in fact

            previously  affirmed   a   similar  combination   of   upward

            adjustments.   See United States v.  Diaz-Villafane, 874 F.2d
                           ___ _____________     ______________

            43 (1st Cir. 1989), cert. denied, 493 U.S. 862 (1989).  There
                                ____________

            was no error in the calculation of Rodriguez s sentence.



                      Affirmed.
                      ________



























                                         -24-
                                          24















                                       APPENDIX

                                 Pretrial Chronology
                                 ___________________

            Jun.  3, 1993  Indictment.

            Jun. 14, 1993  Arraignment.  Magistrate judge issues
                           scheduling order directing, inter alia, that
                                                       _____ ____
                           defendant file any pretrial motions by July
                           13, 1993, and that government file any
                           responses by July 23, 1993.

            Jun. 16, 1993  Rodriguez files motion for discovery and
                           disclosure.  Due date of government's
                           opposition is July 23, 1993; but opposition is
                           not filed until Sept. 2, 1993.

            Sep.  2, 1993  Government responds to motion filed by
                           Rodriguez on June 16, 1993.

            Sep. 22, 1993  Co-defendant Grajales submits guilty plea;
                           district court accepts plea.

            Sep. 23, 1993  Initial jury in Rodriguez's case is selected
                           but not sworn.

            Sep. 30, 1993  Before jury is sworn, Rodriguez requests
                           disclosure by government of additional
                           information concerning its key witness.  Jury
                           is dismissed and Rodriguez's trial is
                           postponed pending resolution of discovery
                           issues.

            Oct. 12, 1993  Rodriguez files "Motion for Exculpatory
                           Evidence."

            Oct. 13, 1993  Rodriguez files motion to reconsider bail.

            Oct. 19, 1993  Rodriguez's counsel files motion to withdraw.

            Oct. 25, 1993  Hearing held on motion to withdraw; the court
                           allows the motion.  Court gives Rodriguez 10
                           days to obtain new counsel.

            Nov.  4, 1993  Rodriguez's new counsel Barry Wilson, not a
                           member of the district court bar, purports to
                           file an "appearance."





                                         -25-
                                          25















                                 APPENDIX, continued


            Dec.  1, 1993  Local counsel files appearance on behalf of
                           Barry Wilson.

            Dec. 10, 1993  Barry Wilson files motion for admission pro
                                                                   ___
                           hac vice.  The government opposes the motion.
                           ___ ____

            Feb. 22, 1994  Hearing held on pro hac vice motion.  The
                                           ___ ___ ____
                           court allows the motion.

            Feb. 22, 1994  Rodriguez files motion to dismiss indictment
                           for violation of Speedy Trial Act.

            Apr. 28, 1994  Hearing held on motion to dismiss; the court
                           denies the motion.

            May  12, 1994  Rodriguez's trial commences.

































                                         -26-
                                          26









